      Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 1 of 30




 1   Julie E. Schwartz, Bar No. 260624
     JSchwartz@perkinscoie.com
 2   Winnie Hung, Bar No. 291614                                       FILED
     WHung@perkinscoie.com
 3   PERKINS COIE LLP
     3150 Porter Drive                                                 mar 112®
 4   Palo Alto, CA 94304-1212                                         Ql ISAN Y. SOONG
     Telephone:(650)838-4300
 5   Facsimile:(650)838-4350

6    Attorneysfor Movant Non-party
     TWITTER,INC.
 7

 8

9                                   UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11                                    SAN FRANCISCO DIVISION
                                                                                            JSC
12                                     CV30
13                                                    Case No.
     In the Matter ofa Subpoena to
14   Non-party Twitter, Inc.                         (S.D.N.Y. Case No. l:18-cv-02185)

15                                                    DECLARATION OF RYAN MRAZIK
       Strategic Vision US,LLC,                       IN SUPPORT OF NON-PARTY
16                                                    TWITTER,INC.'S NOTICE OF
                  V.                                  MOTION AND MOTION TO QUASH
17                                                    OR MODIFY SUBPOENA
       Eastern Profit Corp. Ltd.,
18                                                    Date:      April 15,2020
                                                      Time:      9:00 a.m.
19

20

21

2

 3

24

25

26

27

28


                                      Declaration in Support of Twitter,Inc.'s Motion to Quash or Modify
                                                                                         LEGAL147492794,1
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 2 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 3 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 4 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 5 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 6 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 7 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 8 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 9 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 10 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 11 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 12 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 13 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 14 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 15 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 16 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 17 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 18 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 19 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 20 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 21 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 22 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 23 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 24 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 25 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 26 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 27 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 28 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 29 of 30
Case 3:20-mc-80062-JSC Document 2 Filed 03/11/20 Page 30 of 30
